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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )                    8:09CR3
                    Plaintiff,             )
                                           )
             v.                            )
                                           )                     ORDER
ANTONIO FRAUSTO,                           )
                                           )
                    Defendant.             )
                                           )


      This matter is before the court on defendant’s motions for leave to appeal in forma

pauperis, Filing Nos. 186 & 189. The defendant seeks leave to proceed in forma pauperis

on appeal from his conviction and sentence. The defendant was represented by retained

counsel in district court proceedings and is accordingly not entitled to proceed on appeal

without further authorization as prescribed in Fed. R. App. P. 24(a)(3).

      In order to proceed in forma pauperis, the defendant must comply with Fed. R. App.

P. 24 which provides:

             (a) Leave to Proceed in Forma Pauperis.

                    (1) Motion in the District Court. Except as stated in Rule
             24(a)(3), a party to a district-court action who desires to appeal in
             forma pauperis must file a motion in the district court. The party must
             attach an affidavit that:

                    (A) shows in the detail prescribed by Form 4 of
                    the Appendix of Forms the party's inability to pay
                    or to give security for fees and costs;

                    (B) claims an entitlement to redress; and

                    (C) states the issues that the party intends to present
                    on appeal.

Fed. R. App. P. 24. (a)(1); see also 28 U.S.C. § 1915(a)(1). Accordingly,
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     IT IS ORDERED that:

     1.    The Clerk of Court is directed to send the appropriate affidavit to the

           defendant.

     2.    The defendant shall submit the completed affidavit to the court within 14

           days of the date of this order, at which time the court will consider the

           defendant’s motion for leave to proceed in forma pauperis on appeal.

     DATED this 19th day of July, 2010.

                                      BY THE COURT:



                                      s/Joseph F. Bataillon
                                      JOSEPH F. BATAILLON
                                      UNITED STATES DISTRICT JUDGE




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